













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-01-00405-CR

____________


RODRIGO ANTHONY BOYLE, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 344th District Court 

Chambers County, Texas

Trial Court Cause No. 11226 





O P I N I O N


	Appellant, Rodrigo Anthony Boyle, entered a plea of nolo contendere to a
charge of unlawful possession with intent to deliver a controlled substance, namely
methamphetamine, in an amount of four grams or more but less than 200 grams. 
Appellant was assessed a suspended sentence of 10 years community supervision and
a $2,500 fine.  We address whether the legality of a traffic stop made by an officer for
one purpose can be upheld on another basis shown by the evidence.  We affirm.

Facts

	Between 2:00 and 2:15 a.m. on January 26, 2000, Officer Matt Ashby, of the
Chambers and Liberty County Narcotics Task Force, stopped the vehicle driven by
Amy Ann Smith for failing to maintain a single marked lane of traffic.  Appellant 
was in the front passenger seat of the vehicle and a third person was in the back seat. 
Officer Ashby asked appellant and Smith several questions.  Appellant's and Smith's
answers were inconsistent.  Officer Ashby then asked for permission to search
appellant.  Appellant gave no oral response.  Instead, he  turned around, raised his
hands, and gave a cigarette box to Officer Ashby.  The cigarette box contained
methamphetamine.  A subsequent search of the vehicle produced a bag that contained
more methamphetamine. 

	Appellant filed a motion to suppress the evidence seized by Officer Ashby on
the grounds that the stop, detention, search, and arrest/seizure were unreasonable, in
violation of the Fourth Amendment of the United States Constitution, Article I,
Section 9 of the Texas Constitution, and article 38.23 of the Texas Code of Criminal
Procedure.  After the trial court denied appellant's motion to suppress, he entered a
plea of nolo contendere.  


Hearing on Motion to Suppress

A.	Officer Ashby's Testimony

	Officer Ashby became suspicious when Smith grabbed her purse as she exited
the vehicle, but produced her driver's license from her back pocket.  His suspicions
were further aroused when appellant moved around and repeatedly pulled his hands
in and out of his pockets and when Smith and appellant gave inconsistent statements
to several questions.  When Officer Ashby asked permission to search appellant's
person, he responded by turning around, putting up his hands, and handing objects
from his pockets to Officer Ashby.  One of the objects was the cigarette box in which
Officer Ashby found methamphetamine.  Officer Ashby placed appellant under arrest
and then discovered more methamphetamine in a backpack located in the trunk of the
vehicle. 

	Officer Ashby also stated he stopped Smith's vehicle for failing to maintain a
single marked lane of traffic.  Ashby claimed that, as he was approaching from behind
the vehicle, he observed the vehicle swerving within the lane and also saw the vehicle
cross over the left-lane marker.  Under cross-examination, Officer Ashby stated he
could not remember whether he was "stationary" or "mobile" when he first observed
the vehicle, or whether the vehicle was traveling in the extreme left or center lane at
that time.  In addition, Officer Ashby conceded he could not remember at what rate
of speed he was traveling when he approached the vehicle, and also acknowledged
Smith's swerving did not create an immediate danger because no other vehicles were 
nearby.  

	On re-direct examination, Officer Ashby testified he stopped Smith's vehicle
about eight or nine miles past the point where Interstate 10 changes from two to three
lanes, and that there were signs on that portion of the freeway stating, "the inside lane
is for passing only."  Officer Ashby confirmed a traffic violation occurred if a vehicle
remained in the left lane when not passing other vehicles. 

B.	Smith and Appellant's Testimony

	Boyle stated Smith was driving the vehicle in the left lane when they noticed
Officer Ashby's vehicle approaching from behind.  Appellant also stated Smith
signaled then and moved into the center lane, and acknowledged that Smith had been
driving in the far left lane for at least 10 minutes since last passing another vehicle
and before she saw Officer Ashby approach.  Smith also acknowledged she had been
driving in the extreme left lane before she saw Officer Ashby's vehicle.  In addition,
she stated she knew the extreme left lane was designated for "faster traffic."  

C.	Ruling of the Trial Court

	The trial court found, after reviewing all the evidence and from a totality of the
circumstances, that Officer Ashby lawfully stopped Smith's vehicle.  The trial court
noted that the facts did not justify a stop for failing to drive in a single marked lane,
but found violations of Transportation Code sections 472.022 (1) and 544.011, (2) based
on Officer Ashby's entire testimony and other facts presented during the hearing. 
Although Officer Ashby did not advance these violations as the reason for the traffic
stop, the trial court further noted, 

	'[T]he fact that the officer does not have the state of  mind hypothecated
by the reasons which provide the legal justification for the officer's
action does not invalidate the action taken as long as the
circumstance[s], viewed objectively, justify that action.[']  Scott v.
United States, 436 U.S. 128, 138, 98 S. Ct. 1717, 1723 (1978); Williams
v. State, 726 S.W.2d 99, 101 (Tex. Crim. App. 1986); Cedano v. State,
24 S.W.3d 406, 410 (Tex. App.--Houston [1st Dist.] 2000, no pet.).  


Analysis


	In his sole point of error, appellant contends the trial court abused its discretion
by denying his motion to suppress because Officer Ashby's stop was illegal.  This
Court will not set aside a ruling on a motion to suppress unless the trial court clearly
abused its discretion.  Cedano, 24 S.W.3d at 410.  In reviewing a ruling on a motion
to suppress, we afford almost total deference to a trial court's determination of
historical facts supported by the record.  Guzman v. State, 955 S.W.2d 85, 89 (Tex.
Crim. App. 1997); Cedano, 24 S.W.3d at 410;  Gonzales v. State, 4 S.W.3d 406, 413
(Tex. App.--Waco 1999, no pet.).  In addition, we view the record evidence and all
reasonable inferences from the evidence in the light most favorable to the trial court's
ruling and will sustain the trial court's ruling, provided it is reasonably supported by
the record and is correct on any theory of law applicable to the case.  Gonzales, 4
S.W.3d at 413-14.

	Appellant attempts to distinguish his case from the Scott, Williams, and Cedano
decisions.  He argues that, because Officer Ashby could not positively testify that he
saw the infraction the trial court based its ruling on, and, because he could not testify
that he saw any other infraction (except failing to maintain a single marked lane of
traffic), Ashby did not have the requisite underlying motive or subjective intent for
the stop.  Appellant further contends that upholding the trial court's ruling in this case
would broaden the scope of the Scott decision to the point that its objectivity
requirement could be compromised by a trial court's subjective assumptions.

	Appellant's argument attempts to impose a requirement that only the officer
can testify to the circumstances that justify the stop or search.  Nothing in Scott
suggests or supports this addition.  Scott states, "the fact that the officer does not have
the state of mind which is hypothecated by the reasons which provide the legal
justification for the officer's action does not invalidate the action taken as long as the
circumstances, viewed objectively, justify that action."  Scott, 436 U.S. at 138, 98 S. 
Ct. at 1723.  As the Supreme Court further held, an officer's subjective intent alone
does not render an otherwise lawful action illegal or unconstitutional.  436 U.S. at
136, 98 S. Ct. at 1723.  Moreover, this Court has held that appellate courts may
properly uphold a trial court's ruling on a motion to suppress on a ground not
articulated by the arresting officer in his testimony.  See Cedano, 24 S.W.3d at 410.

	Although Officer Ashby did not testify that he stopped Smith because she
violated Transportation Code sections 472.022 and 544.011, both Smith and appellant 
acknowledged that the vehicle had been traveling in the extreme left lane for a
distance of eight or nine miles since last passing a vehicle.  Ashby was not required
to have this reason as his subjective intent for effectuating the stop or to articulate this
as his reason for the stop during his testimony.  See Cedano, 24 S.W.3d at 410.  The
testimony by Smith and appellant, that the vehicle Smith was driving had remained
in the extreme left hand lane for a period of time while exceeding the "passing only"
limitation imposed by the posted signs, was sufficient evidence, viewed objectively,
to justify Officer Ashby's actions.  Another way of analyzing the situation is that
Smith and appellant did not have a reasonable expectation not to be stopped for a
traffic violation.  Thus, the record reasonably supports the trial court's ruling, which
qualifies as a correct theory of law applicable to the case.  The trial court did not
abuse its discretion by denying the motion to suppress.  

	We overrule appellant's sole point of error.   

Conclusion

	We affirm the judgment of the trial court.




		
	Tim Taft


	Justice


Panel consists of Justices Taft, Radack, and Price. (3)


Do not publish.  Tex. R. App. P. 47.4.
1. 	Tex. Transp. Code § 472.022. Obeying Warning Signs


			(a) A person commits an offense if the person disobeys the
instructions, signals, warnings, or markings of a warning sign.


	Tex. Transp. Code Ann. § 472.022 (Vernon Supp. 2002).
2. 	Tex. Transp. Code § 544.011. Lane Use Signs


			If, on a highway having more than one lane with vehicles
traveling in the same direction, the Texas Department of
Transportation or a local authority places a sign that directs
slower traffic to travel in a lane other than the farthest left lane,
the sign must read "left lane for passing only."


		Tex. Transp. Code Ann. § 544.011 (Vernon Supp. 2002).
3. 	The Honorable Frank C. Price, former Justice, Court of Appeals, First District
of Texas at Houston, participating by assignment.



